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                          UNITED STATES DISTRICT COURT                              FI IED
                        FOR THE WESTERN DISTRICT OF TEXAS
                                                                                  JAN   092019
                                                                              cLERK. US DISTRICT Ct.ERK
 JAMES T. HUDDLESTON,                            )                                               TEXAS
                                                                             BY
                       Plamtiff,                 )
                                                 )
               V.                                )          Civil Case No. 5:17-1228
                                                 )
 CHUCKS TRANSPORT                                )
 INCORPORATED Ct al.,                            )
                                                 )
                       Defendants.               )


                                   MEMORANDUM OPINION

       The FLSA promises employees tirne-and-ahaIf pay for weekly work exceeding forty

hours. 29 U.S.C. § 207(a)(l). James Huddlestbn says he routinely workd fifty-hour weeksand

maybe even seventy-five-hour weeksas an inside salesman for trucking company Chucks

Transport. But he claims Chucks never paid him overtime. So he sued Chucks for backpay and

liquidated damages.


       1-luddleston now moves for summary judgment. Chucks opposes the motion, arguing

1-luddleston falls within the FLSA's exemption for administrative or executive employees. And

Chucks files two other motions to thwart summary judgment: a motion to amend its answer to

specifically plead that exemption; and a riotion to exclude Huddleston's expert, Collin Miller,

who analyzed Huddleston's email activity to deduce his work schedule. For his part, Huddleston

moves to.strike Chucks president Mary Brandt's declaration, which Chucks uses to oppose

summary judgment.


       Deciding if the record supports summary judgment requires determining the record's

contents. The Court will grant Chucks's motion for leave to amend since Chucks shows good
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 cause under Rule 16 and nothing justifies denying leave under Rule 15. The Court will further

 grant Chucks's motion to exclude Miller's' irrelevant and misleading email analysis. But the

 Court will deny Huddleston's motion to strike, since his objections to Brandt's declaration are

 meritless.


          Given that record, the Court will grant-in-part and deny-in-part Huddleston's summary

 judgment motion. Importantly, his motion answers questions about Chucks's CEO's joint and

 several liability; Chucks's liability for so4e unpaid overtime; and Chucks's liability for

 liquidated damages. But the parties need trial to determine Huddleston's status under the FLSA,

 Chucks's total liability, the applicable statute of limitations, and the total damage award.

 1.   The Court will grant Chucks's motion for leave to amend because Chucks shows good
       cause under 1ule 16 and because ncthing justifies denying leave under Rule 15.

         Chucks seeks leave to amend its answer to include a citation to the FLSA's exemption for

 administrative, executive, or professional employees 29 U.S.C. § 213(a)(l). Though Chucks

generally maintained the FLSA exempte Huddleston throughout this litigation, it specifically

invoked the § 213(a)(l) exemption for the first time in discovery responses. By then, Huddleston

argues, Chucks waived its application, entitling Huddleston to summary judgment on his

nonexempt status. Chucks disagrees, arguing in its summary judgment opposition that

Huddleston had fair notice of Chucks's exemption theory.


         But with this motion, Chucks hedges its bet. In addition to opposing Huddleston's waiver

argument on the merits, Chucks seeks to nip its bud by adding a formal citation to § 213(a)(1) to

its answer. Yet Chucks filed its motion fiye weeks after the amendment deadline. Regardless, the

Court will grant the motion since Chucks shows good cause under Rule 16 and since nothing

justifies denying leave under Rule 15.

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          Where a party seeks leave to amend "after a scheduling order's deadline to amend has

 expired," Rule 16(b)(4) requires the movant show good cause. Fahim      v.   Marriot Hotel Servs.,
Inc., 551 F.3d 344, 348 (5th Cir. 2008). Once they do, the "more liberal [amendment] standard of

Rule 15(a) will apply." Id.


          Good cause under Rule 16(b)(4) turns on four factors: "(1) the explanation for the failure

to timely move for leave to amend; (2) the importance of the amendment; (3) potential prejudice

in allowing the amendment; and (4) the a)ailabi1ity of a continuance to cure such prejudice." Sw.

Bell Tel. Co. v. City ofEl Paso, 346 F.3d 541,546(5th Cir. 2003) (internal quotation marks

omitted). (quoting S& W Enters., LLC v. Scuthtrust Bank ofAla., NA, 315 F.3d 533, 535(5th Cir.

2003)).       .




          Assuming a late movant shows gOod cause, Rule I 5(a)(2) requires the Court "freely give

leave" to amend "when justice so requires." Circuit precedent further directs the Court to deny

leave only if amendment would cause un1ue delay or prejudice, if movants seek leave to amend

in bad faith, if movantsrepeatedly failed to cure prior deficiencies, or if amendment would be

futile. See United States ex rel. Willard v. Humana Health Plan of Texas Inc., 336 F.3d 375, 386

(5th Cir. 2003).


          Here, Chucks argues good cause exists because its failure to formally plead the

exemption was an oversight; because the amendment could be critical to avoiding an adverse

judgment; and because no prejudice wouM result, since Huddleston already explored Chucks's

exemption theory in discovery and briefed it in his summary judgment motion. For good

measure,. Chucks cites Vanzzini v. Action Meat Distributors, inc., 995 F. Supp. 2d 703, 713 (S.D.

Tex. 2014), where Judge Ellison allowed an employer to add an FLSA exemption to its answer

five weeks after the amendment deadline "because preventing Defendants from asserting this

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defense may have led to recovery by employees who are actually exempt from recovery under

the FLSA."

        Huddleston opposes the motion by claiming that Chucks lacked diligence and that

allowing amendment would require additional discovery and summary judgment briefing. And

he distinguishes   Vanzzini   since that employerunlike Chucks heresought leave to amend

before filing for summary judgment. Instead he cites language from two unreported Southern

District of Texas cases suggesting "[t]o successfully plead the affirmative defense of exemption

from FLSA provisions that govern minimum wage and overtime requirements, the defendant

must identify the exemption of the FLSA by name." Pl.'s Resp. 4 (internal quotation marks

omitted) (quoting   Fran/cr   v.   Tyhan, Jnc., 1o. 15-191, 2016 WL 1531752, at *2 (S.D. Tex. Apr.

15, 2016)) (citing Vargas     v.   HWC Gen. Maini., LLC, No.     11-875, 2012 WL 948892 (S.D. Tex.

Mar. 20, 2012)), ECF No. 37.


       But Chucks adequately shows good cause under the Fifth Circuit's test. Nothing suggests

it intentionally put-off identifying a specific exemption. Chucks's general exemption theory was

obvious in both its answer (at ¶114, 17, ECF No. 4), and its joint Rule 26 report (at 1, ECF No.

11) ("Defendants allege that Mr. Huddleston is exempt from the provisions of the Fair Labor

Standards Act."), and it specifically identified the § 21 3(a)(1) exemption in response to

Huddleston's interrogatories (at 6, ECF No. 32-3). Moreover, amendment is critically important

since Chuckss case hinges on the exemption's applicability. Finally, amendment would not

prejudice Huddleston; Not only has Huddleston' known about Chucks's general exemption theory

since the beginning, he explored the issue during discovery, even acknowledging during a

deposition that "I understand.       ..   you conidered [Huddleston] a salaried-exempt employee."

7/30/18 Tr. 37:11-15, ECF No. 32-7. Nor would amendment subject Huddleston to additional

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 costs or delays: he already spends eight paes in his summary judgment motion arguing §

 213(a)(l)'s applicability as if Chucks specifically pled it.

        Indeed, though Huddleston makes much of Chucks waiting to seek leave until after filing

 for summary judgment, perhaps Chucks's motion came so late because Huddleston waited so

 long to object. When Chucks asked Huddleston via interrogatory to identi1' support for his

nonexempt status, Huddleston responded                  objection. 5, ECF No. 32-6. Huddleston could
                                             tlithout
have refused to answer the question as outside the.pleadings' scope, but instead he waited

 fourteen more weeks to foist his objection at the summary judgment stage.


        Huddleston's cited authority is sinilar1y unavailing. Neither Franks nor Vargas requires

employers to identify a specific exemption. Instead, they hold an employer need only aver a

belief the FLSA exempted an employee. The Franks court held a generic citation to 29 U.S.C.           §

207 and 213provisions with dozens of exemptions covering everyone from wreathmakers to

car dealership service advisorssufficiently pled an exemption theory. See 2016 WL 1531752,

at *23. And the Vargas court only deemed that defendant-employer's' pleading insufficient

because it lacked a factual basis for any exemption and failed to specify whether the exemption

came from the FLSA at all. See 2012 WL 948892, at *3 (striking an affirmative defense alleging

"[slome or all of Plaintiff's claims.. . are barred. . . by statutory exemptions.   . .   under the
FLSA and any applicable state law" (omissions in original)). Chucks's answer suffers from

neither deficiency. What's more, the cases cited in Franks and Vargas support Chucks, not

Huddleston. See, e.g., Florida v. DLT3 9irls; Inc., No. 11-3624, 2012 'WL 1565533, at *3 (S.D.

Tex. May 2, 2012) (citing Morrison v. &ec. Aircraft Refinishing, Inc., 434 F. Supp. 2d 1314,

1318 (S.D. Fla. 2005) ("Where a defendant pleads generally that a plaintiff is not coveredunder

the FLSA, but fails to identify the specifi FLSA exemptions that are applicable, the defendant

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 should be given leave to amend the defens."); Hanzlik v. Birach, No: 09-221,2009 WL

 2147845, at *4 (E.D. Va. July 14, 2009) ('1Forcing a defendant to cite each and every applicable

 statute and regulation that may support an FLSA exemption at the answer stage would be

 contrary to the spirit of Rule 8.")) (holding an allegation that "Plaintiff was an exempt

 administrative and/or executive employee under Section 13(a)(1) of the FLSA" gave the

plaintiff-employee sufficient notice).


           And given this good cause, the Court will grant leave under Rule 15(a)(2). Simply put,

nothing justifies denying amendment. As explained, it causes virtually no delay or prejudice, nor

does it appear to be in bad faith. And since Huddleston already argues a missing citation in

Chucks's answer entitles him to summary judgment, amending the answer to cite § 213(a)(1) is

not futile. The Court will thus grant Chucks's motion for leave to amend.


H. The Court will grant Chucks's motinn to exclude Miller's irrelevant and misleading
    email analysis.

        To prove his total weekly hours, Huddleston testified he worked in the office from about

6:30 AM to 6 PM during the week and from roughly 7:30 AM to         12   PM every other weekend.
See Huddleston DecI. ¶9, ECF No. 27-3. And to buttress his testimony, Huddleston hired expert

Cohn Miller to analyze Huddleston's email activity to reconstruct when Huddleston started and

stopped working. If permitted, Miller would offer graphs summarizing Huddleston's emails'

quantity and timing. But Chucks seeks to exclude Miller, arguing his graphs are irrelevant,

unreliable, and unhelpful to the factfinder. The Court agrees, and will grant Chucks's motion to

exclude.




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        A. Legal Standard


        Federal Rule of Evidence 402 prolibits irrelevant evidence. And under Rule 403,

 evidence is relevant if "it has any tendency to make a [material] fact more or less probable."


        Rule 702 permits a quatified expert's testhnony if it helps the factfinder understand the

evidence or determine a fact in issue, if it relies on sufficient facts or data, and if it results from

reliable principles and methods applied to the case's facts. An expert's principles and methods

are reliable if they are valid and properly applied. Dauber! v.   Merrel! Dow Pharm., 509 U.s.

579, 592-93   (1993).



        B. Because Miller's analysis is unreliable and unhelpful to the factflnder, the Court
            excludes it from the record.

        Anned with Huddleston's 250,00O work emails, Miller used software to graphically

represent Huddleston's schedule based on when he sent emails. Absent more exact evidence of

Huddleston's workday, Miller's analysis      legantlyif imperfectlyproxies his schedule. Like
many Americans, Huddleston's work reqi ired him to frequently communicate through email.

And even though Huddleston's position included many other tasks, and even though Huddleston

(again, like many Americans) occasionally sent personal emails from his work account, neither

fact undoes the evidence's strong support :for Huddleston's testimony.


        And on one hand, Miller's graphs bear several indicia of admissibility. They appear

relevant since they make it more likely Huddleston worked the hours he said he did. Moreover,

they help the factfinder digest the massive quantity of emails. With adequate time and

manpower, the factfinder could take all the emails Chucks produced, cull those Huddleston

actually sent, and arrange them to determine the general trend of daily start and stop times.

Instead, Huddleston helpfully hired Miller to lift this weight.

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       Yet Miller's graphs suffer from tw fatal reliability flaws. First, his dataset stretches back

to January 1, 2012. But in any event, the lortal-to-Portal Act bars Huddleston from recovering

unpaid overtime from before December 4,20l4. Thus Miller's roughly five-year analysis (from

January 1, 2012 to Huddleston's resignation on January 7, 2017) relies   onat leastnearly
three years of irrelevant data. Suppose Huddleston's 2012-2014 schedule differed from his

2015-2016 schedule (which is really all that matters here). Miller's charts would mislead the

factfinder about Huddleston's schedule during the relevant period.

       Second, his Y-axes' exponential scalingjumping from 10, 100, 1000, and 10,000 in

equal incrementsobfuscates the significance of the relative bar heights. Take the columns

representing weekday emails sent from 7:00-7:30 AM and from 7:30-8:00 AM. At first glance,

the two intervals' bar heights seem roughly the same order of magnitude. But comparing the bar

heights to the Y-axis reveals an approximately 50% increase from 7:00-7:30 AM (around 900

emails) to 7:30-8:00 AM (roughly 1350 ernails). So Miller's summary doubly misleads.


       Since Miller's graphs are unreliable and unhelpful in their current form, the Court will

grant Chucks's motion to exclude.


III. The Court will deny Huddleston's motion to strike Brandt's declaration since his
     objections lack merit.

       With this motion, Huddleston tries to strike one of Chucks's best pieces of evidence: its

president's description of Huddleston's administrative duties, which casts doubt on his claimed

nonexempt status. But since Huddleston'sobjections lack merit, the Court     will   deny his motion.


        Seeking to kill Brandt's declaration by a thousand cuts, Huddleston first objects to its

second paragraph under the best evidence rule and the personal knowledge requirement. Next,

Huddleston claims its fourth paragraph contains impermissible legal conclusions. Huddleston
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further argues its fifth paragraph contains hearsay, violates the personal knowledge requirement,

and offers an improper and inconsistent     leal conclusion. Huddleston raises similar objections to
its sixth paragraph, along with the best evidence rule. He claims that its seventh paragraph also

violates the best evidence rule and that it includes improper conclusions. He deems its eighth

paragraph "textbook hearsay." Objs. Summ. J. Evid. 4. And he argues its ninth paragraph

violates the hearsay rule, the personal knowledge requirement, the best evidence rule, and the

authentication requirement.

         But Huddleston misunderstands the evidentiary standard for summary judgment. The

issue is not whetherthe declaration would be admissible, but only whether its substance is

"capable of being   'presented in a fomi that would be admissible" at trial. LSR Consulting, LLC

v.   Wells Fargo Bank,   NA., 835 F.3d 530,534(5th Cir. 2016) (quoting Fed. R. Civ. P. 56(c)(2)).

         For that reason, Huddleston's hearay, best evidence, and authentication objections fail.

To the extent Brandt references written policies in paragraphs two and seven, Chucks could

admit them as business records.    See   Fed. R. Evid. 803(6). Chucks could admit the "hearsay" in

paragraphs five, six, and nine as opposing-party statements. See Fed. R. Evid. 801(d)(2). And

paragraph eight's contested statement asserts the decjarant's then-existing mental state, an

exception to the general hearsay bar. See Fed. R. Evid. 803(3). Finally, since Brandt is also

Chucks's records custodian, see Brandt Deci. ¶ 10, ECF No. 35-1, paragraph nine's content

easily clears any authentication hurdle. See Fed. R. Evid. 901(b)(1).


         So too for Huddleston's personal Idiowledge objections. As Chucks's president, Brandt

can testilS' about Chucks's general operatin (paragraph two), its employees' roles and

responsibilities (paragraphs five and six), and a review she personally conducted (paragraph

nine). See Fed. R. Evid. 602.

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        Huddleston's objections to Brandt's opinion testimony fall similarly short. Though

witnesses may not opine on "purely legal matters," Rule 701 permits lay witnesses to provide

opinion testimony bearing on mixed questions of law and fact. Askanase v. Fatfo, 130 F.3d 657,

673 (5th Cir. 1997); see also Fed. R. Evid) 704 ("An opinion is not objectionable just because it

embraces an ultimate issue."). That's all Brandt does here. "FLSA claims typically involve

complex mixed questions of fact and law," Barrentine    v.   Arkansas-Best Freight Sys., Inc., 450

US. 728, 743 (1981), and "[t]he decision 'whether an employee is exempt under the (FLSA is

primarily a question of fact." Smith v. City offackson, 954 F.2d 296,298(5th Cir. 1992)

(quoting Blakmon v. Brookshire Grocery Co., 835 F.2d1 135, 1137(5th Cir. 1988)). So neither

deséribing Huddleston's job as a "supervisory and management role" (paragraphE four and six)

nor explaining what his duties entailed (paragraphs five and seven) offend Rule 701, despite the

testimony's bearing on Huddleston's exempt status.

        Since his objections lack merit, the Court will deny Huddleston's motion to strike.


IV. The Court wifl grant-in-part and deny-in-part Huddleston's summary judgment
    motion.

        Seeking to reduce or eliminate the need for trial, Huddleston moves for summary

judgment on eight distinct issues. Deciding each issue independently requires some logical jiu

jitsu, assuming answers for some questions to decide others. This is especially true since

Huddleston cannot obtain summary judgr         on the most important questionwhether he was

exempted from the FLSA's overtime pay                   But the juice is worth this squeeze, since

his motion resolves three important quest       First, that Chucks's CEO would be jointly and

severally liable. Second, that Chucks wo      be liable for some weekly unpaid overtime. And

third, that Chucks would be liable for liqt      damages. But trial remains necessary to answer


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other questions: Does the § 213(a)(1) exemption apply toFluddleston? Is Chucks liable for

additional unpaid overtime? Can Chucks recover two or three years of unpaid overtime? And

what are the total damages?


       To bring a successful unpaid overtime claim, a plaintiff-employee must prove four

elements:


   1. that an     employeremployee relationship existed during the claimed period;

   2. that the FLSA covered the employee;


   3. that the defendant-employer failed to pay overtime; and


   4. the unpaidôvertime amount.


Johnson   v.   Heclanann Water Res. (CVR),     Inc., 758 F.3d 627,630(5th Cir. 2014). Once the

employee establishes each element with a ,reponderance of the evidence, the burden shifts to the

employer either to disprove the employee's claimed hours or to prove the FLSA exempted the

employee. Id.


       Under the Portal-to-Portal Act, employees must bring unpaid overtime claims within two

years. 29 U.S.C. § 255(a). But   if an employee proves the employer willfully violated the FLSA,
the limitation period extends to 3 years. Id An employer willfully violates the FLSA if it "knew

or showed reckless disregard for.    ..   whether its conduct was prohibited by the statute." Singer v.

City of Waco, 324 F.3d 813, 821 (5th Cir. 2003) (omission in original) (internal quotation marks

omitted) (quoting Reich v.   Bay, Inc.,   23 F.3d 110, 117 (5th Cir. 1994)).

       Here, Huddleston seeks summary judgment on all or part of each element and on the

applicable statute of limitations. For element one, he cites evidence establishing Chucks's CEO
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Emerson Nelson was a separate "employer" under the FLSA and therefore jointly and severally

liable for any violation. For element two, he argues procedurally that Chucks waived any FLSA

exemption by failing to specify one in its           and claims substantively that he does not fall

within the § 213(a)(1) exemption. For dc     nt three, he argues Chucks admits liability for at

least 9.75 weekly in-office unpaid overtit   hours and marshals additional evidence suggesting

Chucks's liability extends to ten more in-   ice and fifteen out-of-office weekly unpaid overtime

hours. For element four, Huddleston claii    Chucks owes liquidated damages equal to the unpaid

overtime amount. And since he seeks to       ect unpaid overtime from three years before his

complaint, Huddleston moves for swnmary judgment that Chucks's wiliflully violated the FLSA.


       Deciding these issues requires following the familiar summary judgment standard.

"[S]ummary judgment is proper if... 'there is no genuine issue as to any material fact.. . [and]

the moving party is entitled to judgment as a matter of law." Celolex Corp.     v.   Caireu,   477 U.s.

317,322(1986) (quoting Fed. R. Civ. P.56(c)). Once the moving party identifies a valid basis

for summary judgment, the opposing party must identify "specific facts showing there is a

genuine issue for trial." Id. at 323-24 (internal quotation marks omitted) (quoting Rule 56(e)). To

succeed, the opposing party must also provide evidence allowing a reasonable factfinder to find

in its favor. Davis v. Fort Bend Cly., 765 F.3d 480,484(5th Cir. 2014).


       Based on that standard, and assuming the FLSA's overtime requirement applies,

Huddleston merits summary judgment that Nelson would be jointly and severally liable as an

employer, that Chucks would be liable for at least 19.75 weekly unpaid overtime hours, and that

Chucks would be liable for liquidated damages. Yet Huddleston cannot obtain summary

judgment on whether Huddleston actually falls within the     §   213(a)(1) exemption; whether




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Chucks would be liable for an additional ten in-office weekly unpaid overtime hours; or whether

any FLSA violation would be willful.


         A. Huddleston deserves summaiy judgment on Nelson's joint and several liability
            as an FLSA employer.

         Chucks does not directly contest elson'sjoint and several liability if the FLSA overtime

requirement applies to Fluddleston. Nor ccu1d it. "The dominant theme in the case law is that

those who have operating control over employees within companies may be individually liable

for FLSA    violations committed by the companies." Gray v. Powers, 673 F.3d 352,357(5th Cir.

2012). To determine if a company official has operational control, the Fifth Circuit considers

four   factors:


    1.   whether the official could hire and fire employees;

    2. whether the official supervised and controlled work schedules or employment conditions;


    3. whether the official determined th payment rate and method; and


    4. whether the official maintained employment records.


Williams v. Henagan, 595      F.3d 610,620(5th Cir. 2010).

         Here, all   four elements   support deeming Nelson a jointly and severally liable FLSA

employer. Though Nelson formally delegated hiring and firing to other executives, he still

oversaw "all levels within the compan[y],'l E-mail from Emerson Nelson to all Chucks

Employees (Nov. 20,2016, 8:48 PM), ECF No. 27-8; set the work schedule; gave the final word

on pay rates and methods; and oversaw record maintenance. See Huddleston DecI. ¶ 13.

Accordingly, assuming Chucks's liability, Huddleston merits summary judgment that Nelson

would be jointly and severally liable.

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        B. Huddleston cannot obtain summary judgment on his nonexempt status given a
            factual dispute about his primary responsibility.

        Huddleston advances procedural and substantive grounds for summary judgment that the

FLSA did not exempt him from its overtinie pay requirement. But Chucks contends it

procedurally and substantively justified applying the exemption for executive or administrative

workers. See 29 U.S.C. §21 3(a)(1) (exempting workers "employed in a bona fide executive,

administrative, or professional capacity" fiom the FLSA's overtime pay requirement).


        Summaiy judgment cannot resolve this dispute. Huddleston loses procedurally since

Chucks can amend its complaint and sinceHudd1eston was not prejudiced. Norcan he win

substantively, since 'evidence supports both positions.


                 1.   Huddleston's procedural argument fails because Chucks can amend its
                      complaint and because Huddleston was not prejudiced.

        As discussed regarding Chucks's motion for leave to amend, see supra Part I, Huddleston

initially claims Chucks waived § 213(a)(l)'s applicability by failing to specifically plead it. In all

events, granting Chucks's motion for leave to amend moots this argument. But Huddleston's

argument would fail regardless, since Huddleston had adequate notice of Chucks's general

exemption theory and since Chucks's failuTe to specifically cite § 21 3(a)( 1) in its answer did not

prejudice him.


        An employer's claim that the FLSA exempted an employee is an affirmative defense. See

Corning Glass Works      v.   Brennan,   417 U.SL 188, 196-97 (1974). And Federal Rule of Civil

Procedure 8(c) requires defendants plead affirmative defenses "with enough specificity or factual

particularity to give the plaintiff 'fair notice' of the defense that is being advanced."   Woodfield v.

Bowman, 193 F.3d 354, 362' (5th Cir. 1 999). But "[w}here the [affirmative defenseJ is raised in


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 the trial court in a manner that does not result in unfair surprise. . . technical failure to comply

 precisely with Rule 8(c) is not fatal." Rogrs v. McDorman,      521   F.3d 381, 385-86(5th Cir.

 2008) (internal quotation marks omitted) (quoting Allied Chem. Corp v. Mackay, 695 F.2d 854,

 855-56(5th Cit. 1983)). "More specifically, a defendant does not waive an affirmative defense if

 it is raised at a 'pragmatically sufficient time, and (the plaintiff] was not prejudiced in its ability

 to respond.'" Arismendez v.   Nightingale Home Health Care, Inc.,       493 F.3d 602,610(5th Cir.

 2007) (alteration in original) (quoting Lucas v.   United States,   807 F.2d 414,418 (5th Cir. 1986)).

         Here, as Part I notes, Chucks's general exemption theory gave Huddleston enough notice

to explore the § 213(a)(1) issue during discovery. Nor did Chucks's failure to specifically cite §

21 3(a)(1) in its answer prejudice Huddleston: he spends eight pages in his summary judgment

motion arguing its applicability as   if Chucks had pled it. So Huddleston's procedural argument
fills flat.

                2. Huddleston's substantive arguments fail because the parties dispute his
                    primary job duty.

        Huddleston also argues he does no meet the substantive definition of an executive or

administrative employee. Labor Department regulations define executive and administrative

employees under § 213(a)(1). 29 C.F.R. § 4L100 defines executive employees as those meeting

a salary requirement, primarily tasked with managing (at least) an organizational department or

subdivision with (at least) two additional employees, and having input on hiring and firing

decisions. Section 541.200 defines administrative employees as those meeting the same salary

requirement, primarily tasked with office or non-manual work relating to the business's

management or general operations, and expected to exercise independent judgment on significant

matters. An employee's primary task is "the principal, main, major or most important duty that


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the employee performs." § 541.700. Yet ifjan employee's primaiy task is neither fully executive

nor fully administrative, § 541.708 shoehoms into the exemption employees whose primary task

blends executive and administrative

        Huddleston offers two reasons he falls outside the department's definitions. First, he

claims he does not meet the salary requirenent. That argument fails. Second, he contends his

primary responsibility was inside sales, no the discretionary managerial tasks the regulations

contemplate. But because the parties              Huddleston's primary responsibility, that argument

fails, too.


                            a. Huddleston          § 541.100      and 541.200's salary requirement.

        As an initial stab, Huddleston            he does not meet §* 541.100 and 541.200's salary

requirement because Chucks deducted                   losses from his pay.

        As    §   54 1.602 explains, "[ajn          is not paid on a salary basis if deductions from the

employee's predetermined compensation are müde.            ..   by the operating requirements of the

business." To argue Chucks violated this                        Huddleston points to a policy stating, "If

you lose money on files you [sic] will be                 from your pay." ECF No. 27-9 at 1-2.

        But Chucks cites undisputed                showing any deductions caine not from

Huddleston's predetermined                       but from commissions on top of his base salary. See

Brandt Dccl. ¶ 3; see also Nelson Dep. Tr          :17-24, ECF No. 27-5. And since deductions from

commissions do not violate       §   541.100 anl 541 .200's salary requirement, Huddleston's first

substantive argument fails.




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                       b. The parties   disute Huddleston's primary responsibility.

        On his second pass, Huddleston cilims he does not fall within the regulatory definitions

because his primary responsibility was inside sales, not the discretionary managerial tasks §

541.lOOand54I.200 describe.

       To be sure, evidence in the record upports Huddleston's position. When Chucks sued

Huddleston in state court for breach of coikract, it described Huddleston's job as "assist[ing]

Plaintiffs' customers by brokering freight transportation services." Pis.' Original Pet. 17-8, ECF

No. 27-1. Chucks also admits it required Huddleston to "communicate[} with customers

directly," Def.'s 1st Am. Objs. & Resps. 6, ECF No. 27-2, and to seek approval on every sale.

Pis.' Original Pet. ¶ 8; Brandt Dep. Tr. 66:11-25, 71:1-10, ECF No. 27-6. This evidence portrays

Huddleston as primarily an inside salesmana cog in the wheelnot primarily an executive or

administrator. And if so, he likely falls outside the § 213(a)(1) exemption. See 69 Fed. Reg.

22,122,22,146 (Apr. 23, 2004) ("The [Labor] Department agrees that employees whose primary

duty is inside sales cannot qualify as exempt employees."); see also   Martin   v.   Cooper Elec.

Supply Co., 940 F.2d 896, 903-07 (3d Cii. 1991) (holding the FLSA exempts inside sales

employees as "production rather than administrative employees" who do not "perform 'work of

substantial importance to the management or operation' of an employer's business" (quoting 29

CFR § 541.205(a) (1991))).

       But unfortunately for Huddleston, Chucks cites contradictory evidence suggesting §

541.100 and 541.200 should apply. This evidence highlights Huddleston's unsupervised and

discretionary tasks: He managed fuel advance requests for all Chucks freight carriers.

Huddleston Dep. Tr. 94:23-95:22. He unilaterally implemented and distributed broad policies to

Chucks's dispatch team. Brandt Dccl. ¶5; Emails from Travis Huddleston (Aug.Sept. 2014),

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ECF No. 36-1;Huddleston Dep. Tr. 74:1-75:13, 85:14-86:20; Email from Travis Huddleston to

dispatch®chuckstranspoitcom (Aug. 11, 2014, 8:59 AM), ECF No. 36-3; Email from Travis

Huddleston to dispatch@chuckstransport.com (Aug. 11, 204,9:24 AM), ECF No. 36-4. He

spear-headed mandatory weekly training sessions. Email from Travis Huddleston to Chuck &

Mary Brandt (Aug. 21, 2014,2:46 PM), ECF No. 35-13; see also Brandt Deci. ¶ 7. He managed

the multiperson night dispatch team, provided their training and educational materials, and

served as their point person for problems. Brandt Dccl. ¶ 6; Huddleston Dep. Tr. 76:18-82:3;

Email from Travis Huddleston to dispatchchuckstransport.com (Aug. 8, 2014,9:36 AM), ECF

No. 36-5; Email from Travis Huddleston to dispatchchuckstkansport.com (Aug. 11, 2014, 8:39

AM), ECF No. 35-11; Email from Travis Huddleston to dispatchchuckstransport.com &

Deiphin Bartek (Aug. 11, 2014 8:39 AM), ECF No. 36-6. And he developed the night dispatch's

policies and maintained its customer contact records. Brandt Deci. ¶ 6; Huddleston Dep. Tr.

76:18-82:3; Email from Travis Huddleston to dispatch@chuckstransport.com (Aug. 8, 2014,

9:36 AM); Email from Travis Huddleston to dispatch®chuckstransport.com (Aug. 11, 2014,

8:39 AM); Email from Travis Huddleston to dispatch®chuckstransport.com & Deiphin Bartek

(Aug. 11, 2014, 8:39 AM).


       Given this dispute over whether Huddleston was primarily a salesperson, an executive, an

administrator, or some executive-administrative hybrid, summary judgment fails. The parties

need trial to determine Huddleston's "principal, main, major, or most important" duty, and

whether that classifies him as an executive employee, an administrative employee, a blend of

both, or just an inside salesman.




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       C. Assuming he is entitled to overtime pay, Huddleston merits summary judgment
          on Chucks's liability for 24.75 weekly unpaid overtime hours.


       Huddleston also moves for summary judgment on liability, premised on his nonexempt

status. And he offers three theories for that liability's extent. At least, he claims Chucks admits

liability for 9.75 weekly in-office unpaid overtime hours. But he argues his own testimony as

well as a 1500-page spreadsheet documenting Huddleston's activity on Chucks's internal

software establish additional liability for another ten weekly in-office unpaid overtime hours.

And he argues his own testimony on unpaid out-of-office work should add another fifteen

overtime hours to the weekly total

        If the   § 21 3(a)( I) exemptiân does   not apply, Huddleston deserves summary judgment on

Chucks's liability forjust 24:75 weekly uiipaid overtijiie hours. In short, Chucks does not

identiAj any contradictory evidence allowing a reasonable factfinder to find in its favor as to the

9.75 in-office and 15 out-of-office unpaid overtime hours weekly. But since Chucks does cite

evidence contradicting the ten additional in-office hours, summary judgment fails for them.

        FLSA liability turns on an employee's total hours worked. This total includes "work

performed away from the premises or the job site, or even at home. If the employer knows or has

reason to believe that the work is being performed, he must count the time as hours worked." 29

C.F.R. § 7785.12. It also includes "all the time during which an employee is necessarily required

to be on the employer's premises," irrespective of any mental or physical exertion. See 29 C.F.R.

§ 785.7 (internal   quotation marks omitted) (quoting Anderson v.     Mt. Clemens Pottery Co., 328


U.s. 680, 690-91 (1946)).

        If the employer failed to keep tim records, the employee need only provide "sufficient

evidence to show the amount and extent          f that work as a matter ofjust and reasonable
                                                     19
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inference." Beliz v. W.H. McL eod& Sons Packing Co., 765 F.2d 1317, 1330(5th Cir. 1985)

 (quoting Mt. Clemens, 328 U.s. at 687). "'1[T]he employer cannot be heard to complain that the

damages lack the exactness and precision      f measurement' . . . . workers may satisfS' their burden
with admittedly inexact or approximate evidence." Id. at 1330-31 (quoting Donovan v.

Grantham, 690 F.2d 453,458(5th Cir. 1982)). Numerous FLSA cases hold an employee's own

testimony regarding his hours establishes a "just and reasonable inference." See, e.g., Beliz, 765

F.2d at 1330-31; Donovan v. Hamm's Drive Inn, 661 F.2d 316,318(5th Cir. 1981); O'Meara-

Sterling v. Mitchell, 299 F.2d 401,403-04 (5th Cir. 1962). And once the employee provides

sufficient evidence, "[t]he burden then shills to the employer to 'disprove the employee's

testimony that the Act was violated." Id. at 1330 (quoting Skipper v. Superior Diaries, Inc., 512

409,420(5th Cir. 1975)).

        Since Chucks concedes it did not maintain time records, Def. Chucks Transport Inc.'s 1st

Am. Objs. & Resps. 4-5, ECF No. 27-2, the just and reasonable inference standard applies. And

Huddleston can satisfy that burden for even his most expansive liability theory.


        First, Chucks concedes potential liability for 9.75 weekly in-office unpaid overtime

hours. Chucks admitted Huddleston's minimum "work schedule was Monday through Friday

7:30 a.m. to 5:00 p.m., and one-half day every other Saturday." Def. Chucks Transport Inc.'s 1st

Am. Objs. & Resps. 7. In other words, Chucks required Huddleston work in the office for 49.75

hours each week. So though Chucks maintains the FLSA does not guarantee Huddleston

overtime,' if it loses on that issue, it has conceded liability for 9.75 weekly in-office unpaid

overtime hours.


       And this figure is the floor, not a ceiling. Huddleston further testifies he worked an

additional fifteen hours weekly outside the office. Huddleston Dccl. ¶ 10. These hours count

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towards Huddleston's weekly total since Nelson and Brandt both knew Huddleston worked

outside the office. Nelson Dep. Tr. 95:8-98:4; Brandt Dep. Tr. 20:17-22.

       Chucks does not attempt to dispmve Huddleston's testimony regarding his out-of-office

hours, as the FLSA would require. Nor does Chucks even try to clear the lower summary

judgment hurdle of identii'ing contradictory evidence allowing a reasonable trier-of-fact to find

in its favor. Their opposition brief argues tnly Huddleston's evidence deserves little weight. But

that does not defeat summary judgment. &e Davis, 765 F.3d at 484 (quoting Turner v. Baylor

Richardson Med Cir., 476    F.3d 337, 343 (5th Cir. 2007)) ("A party cannot 'defeat summary

judgment with conclusory allegations, unsubstantiated assertions, or only a scintilla of

evidence."); see also Donovan, 661 F.2d t 318 (affirming judgment for plaintiff-employees

supported solely on their own testimony since "[a]fter the employees testified, [defendant-

employer] produced no evidence of the precise hours worked, nor did it 'negative the

reasonableness of the inference to be drawn from the employee's evidence" (quoting Mi.

Clemens, 328 U.S. at 688)); O'Mewa-Sierling, 299 F.2d at 404 (affirming judgment for plaintiff-

employee since "[t}he employer failed to carry the burden under the Mi. Clemens doctrine of

producing evidence to show the precise time worked or to negative the inference drawn from the

evidence of the employee"). So Huddleston should obtain summary judgment on Chucks's

liability for 24.75 weekly unpaid overtime hours-9.75 in-office and 15 out-of-office.


       Yet summary judgment fails on Huld1eston's claim for another ten in-office unpaid

overtime hours. To be sure, Huddleston can establish these hours by just and reasonable

inference. Brandt and Nelson concede Huddleston sometimes worked in the office outside his

minimum hours. Nelson Dep. Tr. 46:6-14; Brandt Dep. Tr. 17:14-18:13. And Huddleston

testified he actually worked in the office from roughly 6:30 A.M. to 6:00 P.M. during the week,

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and approximately 4.5 hours every other Saturday. Huddleston Dccl. ¶ 9. That estimate accords

with data from a 1500-page spreadsheet documenting when Huddleston entered data into

Chucks's Carrier Status Report software.' So Huddleston may be able to win on these additional

ten hours at trial.


        But Huddleston cannot obtain summary judgment on these hours since Chucks marshals

just enough contradictory evidence to éviice a factual dispute. For one, Nelson testified

Huddleston did not reu1arly come into th office before 7:30 AM. Nelson Dep. Tr. 49:15-25.

And internal recordsavailable for the final fifteen of the twenty-five months for which

Huddleston seeks unpaid overtimedemonstrate Huddleston logged into his work computer

before 7:00 AM just 7% of the time, and before 6:40 AM only 3% of the time, despite claiming

to routinely start work at 6:30 AM. See ECF No. 35-7.

        All in alland again assuming Huddleston is nonexemptHuddleston wins partial

summary judgment becausejust and reasonable inference establishes Chucks's liability for 24.75

weekly unpaid overtime hours, and because Chucks fails to identif' evidence allowing a

reasonable factfinder to find in its favor asto those hours. But because Chucks disputes

Huddleston's claim for ten more hours, trial will determine Chucks's total liability.




     To summarize the spreadsheet, Huddleston generates a scatterplot (at p.7, ECF No. 27) depicting his time-
stamped software activity. As was true for Miller's proposed analysis of Huddleston's email traffic, see supra Part
II, the scatterplot artfully captures a rough proxy of Huddleston's daily schedule.
      And critically, it evades the reliability concerns plaguing Miller's analysis. Though the scatterplot also depicts
data from outside the statute of limitations, the irrelevant portion is easily segregable (indeed, Chucks helpfully does
so at p.1'! of its opposition, ECF No. 35). And it is accurately drawn to scale.
      Nor is it "hearsay," as Chucks contends. See Def.'s Resp. 16. The underlying 1500-page spreadsheet would be
admissible as a business record under Federal Rule of Evidence 803(7). Because Chucks has a copy of the
spreadsheet (Chucks produced it), and because the spreadsheet is a "voluminous writing.. . that cannotbe
conveniently examined in court," Rule 1006 permits Huddleston to admit the scatterplot to prove the spreadsheet's
contents. See also Huddleston's Mot. Summ. .1. 7 n2 (offering to provide the spreadsheet for the Court's inspection).



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       D. Huddleston cannot obtain summary judgment   that Chucks willfully violated the
           FLSA, but can obtain summary judgment that  Chucks would have to pay
           liquidated damages.
       Finally, Huddleston seeks summary judgment that Chucks willfully violated the FLSA

and that Chucks would be liable for. liquidated damages equal to the unpaid overtime amount.

       The two issues seem superficially distinct. Whether an employer willfully violated the

FLSA determines the applicable statute of limitations. And whether an employer must pay

liquidated damages depends on whether the employer reasonably believed it was complying with

the FLSA. See § 216(b), 260.


       But the two inquiries ask the same question from different sides and with different

burdens. To determine willfulness, the employee must prove the employer knowingly or

recklessly violated the FLSA. But to escape liquidated damages liability the employer must

prove it reasonably believed it complied with the law.

       Here, Huddleston cannot conclusively show Chucks knowingly or recklessly violated the

FLSA. Yet Chucks cannot sufficiently show it reasonably believed it was complying with the

FLSA, either. So Huddieston loses summaky judgment on willfulness but wins suminazy

judgment on liquidated damages.

               1.   Huddleston cannot obtain summary judgment that Chucks willfully
                    violated the FLSA since the parties dispute whether Chucks's CEO
                    adequately investigated the company's no-overtime policy.

       To obtain summary judgment on       illfIilness, Huddleston cites evidence suggesting

Chucks adopted a blanket no-overtime policy despite knowing about the FLSA's overtime pay

requirement, and without investigating if the policy complied.   If true, Chucks may have willfully
violated the FLSA by consciously disregarding a substantial risk its policy violated the overtime


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pay requirement. See    5   C.F.R. §   551.104   "Reckless disregard of the requirements of the Act

means failure to make adequate inquiry into whether conduct is in compliance with the Act.").

       But Chucks correctly identifies a factual dispute. After all, Nelson did not admit he never

asked about the no-overtime policy's permissibility. Instead, he gave every defense attorney's

favorite deposition answer: "I don't recalL" Nelson Dep. Tr. 53:3-61:25. Since this cracks the

door to a factual dispute, Huddleston cannot obtain summary judgment that Chucks willfully

violated the FLSA.

               2. Huddleston may obtaii summary judgment that Chucks would be liable
                  for liquidated damages since Chucks neither pleads nor proves it
                  reasonably believed it complied with the FLSA during the period at issue.

       Huddleston's related claim for suntmary judgment on liquidated damages is slightly

different; it is really a no-evidence summary judgment claim. Because here, Chucks bears the

burden, but cites no evidence showing it reasonably believed its no-overtime policy complied

with the FLSA's overtime requirement

       "Rule 56(c) mandates the entry of summary judgment, after adequate time for discovery

and upon motion, against a party who fails to make a showing sufficient to establish the

existence of an element essential to that p rty's case, and on which that party will bear the

burden of proof at trial." Celotex Corp., 447 U.S. at 32Z With discovery closed, Huddleston

moved for summary judgment against Chucks on whether Chucks reasonably believed it

complied with the FLSAan issue on which Chucks bears the burden at trial. And Chucks failed

to make a sufficient contrary showing.


        Chucks's brief merely rehashes arguments for why the § 21 3(a)( 1) exemption should

apply. But that is   of no moment to this issue. Applying an exemption is a legal question turning

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on statutory interpretation; determining reasonable belief requires evidence. Often the two

inquiries are coextensive. The law absolvs employers who correctly anticipate their compliance,

and punishes employers who flagrantly violate the overtime requirement. But sometimes the two

inquiries diverge. An employer faced with a close question may reasonably believe it complied,

yet find itself on the wrong side of the law when an employee challenges its policy in court. The

law relaxes the penalty for those mistaken judgments, limiting the employer's liability to

backpay. So too may a naïve or consciously blind employer who unreasonably believes its

payment policy complies catch a lucky break in court. The Jaw does not charge for these pleasant

surprises. But proving one's reasonable belief requires more than legal arguments for why an

exemption should apply. And here, Chucks does not provide any evidence supporting its belief

that its no-oveftime policy complied with the law's overtime requirement. So since Chucks lails

to meet its burden, Huddleston wins summary judgment that Chucks did not have a reasonable

belief it complied with the FLSA. If the FLSA owes Huddleston overtime, Chucks will have to

pay liquidated damages.


        Even still, it seems odd to grant summary judgment that Chucks did not have a

reasonable belief its policy was FLSA-coipIiant but to let Chucks prove at trial it did not

willfully violate the FLSA. But that is the 'law. Whether Nelson adequately investigated the

legality of Chucks's no-overtime policy is relevant only to the extent the summary judgment

standard "mirrors the standard for a direct?d verdict under" Rule    50.   Anderson   v.   Liberly Lobby,


Inc., 477 U.S. 242,250(1986). Under Rule 50(a), judgment is appropriate "[i]f a party has been

fully heard on an issue.. . and the court fmds a reasonable jury would not have a legally

sufficient evidentiary basis to find for the party on that issue."
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       Ultimately, evidence that Nelson cannot recall if he investigated the legality of Chucks's
                                                                                       reasonably
no-overtime policy is not a sufficient evidentiary basis for a jury to conclude Chucks
                                                                                   evidentiary
believed its no-overtime policy complied with the FLSA. But it may be a sufficient

basis to find Chucks did not knowingly or recklessly violate the FLSA. Put differently,   if Nelson

knew about the FLSA and chose not to pay overtime, but can't remember if he investigated

whether that was legal, he couldn't reasonably believe he was complying with the law. Under

those cireumstances, that belief would b unreasonable. But even an unreasonable belief may

shield him from willfully flouting the law. Cf Cheek v.    United States, 498 U.S. 192, 202 (1991).


                                            *     *    *




        In the end, Huddleston's swnmary judgment does not eliminate the need for trial.

Questions persist on Huddleston's none,)empt status, Chucks's liability for additional overtime,

the applicable statute of limitations, and he total damage award. But assuming for purposes of

this motion that Huddleston is nonexem1k, it does establish that Chucks's CEO would be jointly

 and severally liable;that Chucks would be liable for some unpaid weekly overtime; and that

 Chucks would be liable for liquidated damages.

 V. Conclusion


        To review: The Court will grant chuck's motion [32] for leave to amend since Chucks

 shows good cause under Rule 16 and si ce nothing justifies denying leave under Rule 15. The

 Court will further grant Chuck's motior [401 to exclude Miller, since his testimony is irrelevant

 and misleading. But the Court will den) Huddleston's motion (42] to strike since his objections

 to Brándt's declaration lack merit.




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       Additionally, the Court will grant-in-part and deny-in-part lluddleston     s   summary

judgment motion [27]. Huddleston wins summary judgment thtn Nelson would be jointly and

severally liable as an employer, and that--assuming the FLSA entitled Fluddlcston io overtime

Chucks would be liable for at least 2435 weekly hours and fbr liquidated damages. But the

parties need trial to resolve whether Huddkston actually faUs within the   § 21   3(a)( 1) exemption:

whether Chucks is liable for an additional ten hours weekly: arid whether any purported FLSA

violations were willful.


       An accompanvinQ order follows.




Date: January   j,   2019
                                                             T2

                                                             Royce C. Lamberth
                                                        t..nitcd States District Judge




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